272 F.2d 943
    60-1 USTC  P 9166
    UNITED STATES of America, Appellant,v.Riley L. PARNELL et al., Appellees.UNITED STATES of America, Appellant,v.J. H. REED, Jr., et al., Appellees.
    United States Court of Appeals Sixth Circuit.
    Dec. 17, 1959.Dec. 17, 1959.
    
      Appeals from the United States District Court for the Middle District of Tennessee, Nashville; William E. Miller, Judge.
    
    
      1
      Charles K. Rice, Leo M. McCormack, Lee A. Jackson and John J. Pajak, Washington, D.C., Fred Elledge, Jr., U.S. Atty., Nashville, Tenn., for appellant.
    
    
      2
      Willaim Waller, Sr., Waller, Davis &amp; Lansden, Nashville, Tenn., for appellees.
    
    
      3
      Before MARTIN and WEICK, Circuit Judges, and BROOKS, District Judge.
    
    
      4
      PER CIRIAM.
    
    
      5
      The appeal of the United States from the judgment of these consolidated tax cases has been duly heard and considered upon the briefs and oral arguments of attorneys and upon the record in the cause including the opinion of the District Court:
    
    
      6
      And it appearing that the findings of fact are supported by substantial evidence and that the conclusions of law are not clearly erroneous but correctly drawn by Judge William E. Miller;
    
    
      7
      The judgment of the United States District Court is affirmed.
    
    